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                                                                                          United States Bankruptcy Court
                             UNITED STATES BANKRUPTCY COURT                                   Southern District of Texas
                               SOUTHERN DISTRICT OF TEXAS                                        ENTERED
                                                                                               August 26, 2024
In Re:   Sharon Y. Chu                                                     Case No.: 24−32845Nathan Ochsner, Clerk

         Debtor                                                            Chapter: 13



                                           ORDER
                                 RESETTING MOTION TO DISMISS


     The chapter 13 trustee's motion to dismiss is continued until 9/10/24 at 03:00 PM.


Signed and Entered on Docket: 8/26/24
